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  AO 245B (Rev. AO 11/16-CAN 04/18) Judgment in Criminal Case


                                     UNITED STATES DISTRICT COURT
                                              Northern District of California
             UNITED STATES OF AMERICA                                  ) JUDGMENT IN A CRIMINAL CASE
                          v.                                           )
                 John David Warbritton                                 )     USDC Case Number: CR-16-00423-001 CRB
                                                                       )     BOP Case Number: DCAN316CR00423-001
                                                                       )     USM Number: 23728-111
                                                                       )     Defendant’s Attorney: Edward Robinson (Retained)


  THE DEFENDANT:
      pleaded guilty to count: One of the Indictment
      pleaded nolo contendere to count(s): which was accepted by the court.
      was found guilty on count(s): after a plea of not guilty.

  The defendant is adjudicated guilty of these offenses:
  Title & Section                Nature of Offense                                                          Offense Ended         Count
  18 U.S.C. § 2252A(a)(1)        Transportation of Child Pornography                                        March 27, 2016        One
  and (b)


  The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to the Sentencing
  Reform Act of 1984.

        The defendant has been found not guilty on count(s):
        Count(s) dismissed on the motion of the United States.

      It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           9/5/2018
                                                                           Date of Imposition of Judgment


                                                                           Signature of Judge
                                                                           The Honorable Charles R. Breyer
                                                                           Senior United States District Judge
                                                                           Name & Title of Judge

                                                                           September 7, 2018
                                                                           Date
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                                                              IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
        84 months

The appearance bond is hereby exonerated, or upon surrender of the defendant as noted below. Any cash bail plus interest shall be
returned to the owner(s) listed on the Affidavit of Owner of Cash Security form on file in the Clerk's Office.

      The Court makes the following recommendations to the Bureau of Prisons:
      The defendant be designated to the Terminal Island FCI, and that he participate in the Residential Drug Abuse Treatment
      Program (RDAP).
      The defendant is remanded to the custody of the United States Marshal.

      The defendant shall surrender to the United States Marshal for this district:
             at on (no later than 2:00 pm).

             as notified by the United States Marshal.

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             at on (no later than 2:00 pm).

             as notified by the United States Marshal.

             as notified by the Probation or Pretrial Services Office.




                                                                RETURN
I have executed this judgment as follows:




         Defendant delivered on ______________________________ to _______________________________________ at
         ________________________________________ , with a certified copy of this judgment.




                                                                                       UNITED STATES MARSHAL

                                                                 By
                                                                                  DEPUTY UNITED STATES MARSHAL
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                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: Seven (7) years

                                     MANDATORY CONDITIONS OF SUPERVISION

1)    You must not commit another federal, state or local crime.
2)    You must not unlawfully possess a controlled substance.
3)    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                   The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                   substance abuse. (check if applicable)
4)         You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5)         You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6)         You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
           as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7)         You must participate in an approved program for domestic violence. (check if applicable)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
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                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court, and bring about improvements in your conduct and condition.

1)         You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
           RELEASE, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2)         After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
           and when you must report to the probation officer, and you must report to the probation officer as instructed.
3)         You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
           from the court or the probation officer.
4)         You must follow the instructions of the probation officer related to the conditions of supervision.
5)         You must answer truthfully the questions asked by your probation officer.
6)         You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
           living arrangements (such as the people you live with, for example), you must notify the probation officer at least 10 days
           before the change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must
           notify the probation officer within 72 hours of becoming aware of a change or expected change.
7)         You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
           officer to take any items prohibited by these and the special conditions of your supervision that he or she observes in plain
           view.
8)         You must work at least part-time (defined as 20 hours per week) at a lawful type of employment unless excused from doing
           so by the probation officer for schooling, training, community service or other acceptable activities. If you plan to change
           where you work or anything about your work (such as your position or your job responsibilities), you must notify the
           probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not
           possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a
           change or expected change.
9)         You must not communicate or interact with someone you know is engaged in criminal activity. You must not associate,
           communicate, or interact with any person you know has been convicted of a felony, unless granted permission to do so by the
           probation officer.
10)        If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
11)        You must not act as a confidential informant without first notifying the probation officer.
12)        You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
           that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
           nunchakus or tasers).


           If the probation officer determines that you pose a risk to a third party, the probation officer may require you to notify the
           person about the risk and you must comply with that instruction. The probation officer may contact the person and confirm
           that you have notified the person about the risk. (check if applicable)

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. I understand that the court may (1) revoke supervision, (2) extend the term of supervision,
and/or (3) modify the conditions of supervision upon a finding of a violation of probation or supervised release.



(Signed)
             Defendant                                                          Date


             U.S. Probation Officer/Designated Witness                          Date
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                                         SPECIAL CONDITIONS OF SUPERVISION
1.       You must pay any restitution and special assessment that is imposed by this judgment and that remains unpaid at the
         commencement of the term of supervised release.

2.       You must cooperate in the collection of DNA as directed by the probation officer.

3.       You must not own or possess any firearms, ammunition, destructive devices, or other dangerous weapons.

4.       You must submit your person, residence, office, vehicle, electronic devices and their data (including cell phones, computers,
         and electronic storage media), or any property under your control to a search. Such a search must be conducted by a United
         States Probation Officer or any federal, state or local law enforcement officer at any time with or without suspicion. Failure
         to submit to such a search may be grounds for revocation; you must warn any residents that the premises may be subject to
         searches.

5.       You must not possess or use a computer without the prior approval of the probation officer. "Computer" includes any
         electronic device capable of accessing the internet or processing or storing data as described at 18 U.S.C. § 1030(e)(1)
         (including cell phones), and all peripheral devices.

6.       As directed by the probation officer, you must enroll in the probation office's Computer and Internet Monitoring Program
         (CIMP) and must abide by the requirements of the CIMP program and the Acceptable Use Contract.

7.       You must not access the Internet or any "on-line computer service" at any location (including employment) without the prior
         approval of the probation officer. "On-line services" include any Internet service provider, or any other public or private
         computer network. As directed by the probation officer, you must warn your employer of restrictions to your computer use.

8.       You must consent to the probation officer conducting periodic unannounced examinations of your computer equipment
         which may include retrieval and copying of all data from your computer(s) and any peripheral device to ensure compliance
         with this condition, and/or removal of any such equipment for the purpose of conducting more thorough inspection. You
         must also consent to the installation of any hardware or software as directed by the probation officer to monitor the
         defendant's Internet use.

9.       You must not possess or use any data encryption technique or program.

10.      You must not possess, in any form, materials depicting child pornography, child erotica, or nude or sexual depictions of any
         child; or any materials described at 18 U.S.C. § 2256(8).

11.      You must not frequent or loiter within 100 feet of any location where children are likely to gather, or have contact with any
         child under the age of 18 unless otherwise approved by the probation officer. Children are likely to gather in locations
         including, but not limited to, playgrounds, theme parks, public swimming pools, schools, arcades, children's museums or
         other specific locations as designated by the probation officer. This provision does not encompass persons under the age of
         18, such as waiters, cashiers, ticket vendors, etc., with whom you must deal in order to obtain ordinary and usual commercial
         services.

12.      Your employment must be approved by the Probation Officer, and any change in employment must be pre-approved by the
         Probation Officer. You must submit the name and address of the proposed employer to the Probation Officer at least 10 days
         prior to any scheduled change.

13.      Your residence must be approved by the probation officer, and any change in residence must be pre-approved by the
         Probation Officer. You must submit the address of any proposed residence to the Probation Officer at least 10 days prior to
         any scheduled change.

14.      You must register with the state sex offender registration agency as required by state law. You must provide proof of
         registration to the Probation Officer within three days of release from imprisonment/placement on supervision. In any state
         that has adopted the requirements of the Sex Offender Registration and Notification Act (42 USC sec. 16901 et seq.), you
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         must also comply with all such requirements as directed by the Probation Officer, the Bureau of Prisons, or any state sex
         offender registration agency in which you reside, are a student, or were convicted of a qualifying offense.

15.      You must participate in sex offender-specific treatment, as directed by the probation officer. You are to pay part or all of the
         cost of this treatment, at an amount not to exceed the cost of treatment, as deemed appropriate by the probation officer. The
         actual co-payment schedule must be determined by the probation officer. The probation officer may release all previous
         mental health evaluations to the treatment provider.

16.      As part of the treatment program, you must submit to polygraph testing as recommended by the treatment provider. However,
         you retain your Fifth Amendment right to refuse to answer questions asked during the course of treatment absent a grant of
         use and derivative-use immunity.

17.      As part of the treatment program, you must submit to psychological testing as recommended by the treatment provider.

18.      You must participate in a program of testing and treatment for drug abuse, as directed by the probation officer, until such
         time as you are released from treatment by the probation officer. You are to pay part or all of the cost of this treatment, at an
         amount not to exceed the cost of treatment, as deemed appropriate by the probation officer. Payments must never exceed the
         total cost of urinalysis and counseling. The actual co-payment schedule must be determined by the probation officer.
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                                                  CRIMINAL MONETARY PENALTIES
           The defendant must pay the total criminal monetary penalties under the schedule of payments.

                                                 Assessment                   JVTA Assessment*                        Fine                     Restitution
TOTALS                                              $ 100                         $ 5,000                            Waived                 To Be Determined



      The determination of restitution is deferred until January 29, 2019. An Amended Judgment in a Criminal Case (AO 245C) will
      be entered after such determination.
      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.


           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
           otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all
           nonfederal victims must be paid before the United States is paid.
Name of Payee                                        Total Loss                         Restitution Ordered                      Priority or Percentage




TOTALS


       Restitution amount ordered pursuant to plea agreement $
       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
       subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
               the interest requirement is waived for the.
               the interest requirement is waived for the is modified as follows:




* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.
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                                                                SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A              Lump sum payment of __________________ due immediately, balance due

                        not later than , or
                        in accordance with                 C,         D, or          E, and/or              F below); or

B              Payment to begin immediately (may be combined with                             C,          D, or        F below); or

C              Payment in equal (e.g., weekly, monthly, quarterly) installments of _ over a period of (e.g., months or years), to
               commence (e.g., 30 or 60 days) after the date of this judgment; or

D              Payment in equal (e.g., weekly, monthly, quarterly) installments of _ over a period of (e.g., months or years), to
               commence (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E              Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F              Special instructions regarding the payment of criminal monetary penalties: During imprisonment, payment of the
               monetary penalties, totaling $5,100.00 are due during imprisonment at the rate of not less than $25 per quarter and
               payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program. Criminal monetary
               payments shall be made to the Clerk of U.S. District Court, 450 Golden Gate Ave., Box 36060, San Francisco, CA
               94102.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

    Joint and Several

Case Number                                                       Total Amount              Joint and Several                        Corresponding Payee,
Defendant and Co-Defendant Names                                                                Amount                                  if appropriate
(including defendant number)


       The defendant shall pay the cost of prosecution.

       The defendant shall pay the following court cost(s):

       The defendant shall forfeit the defendant’s interest in the following property to the United States: One Apple iPhone with serial
       number C39PFBH4G5MV seized on or about March 27, 2016; One Apple MacBook Pro laptop with serial number
       C02QMYUFFVH3 seized on or about March 27, 2016; and one black Samsung smart phone seized on or about February 1,
       2017.
       The Court gives notice that this case involves other defendants who may be held jointly and severally liable for payment of all or
       part of the restitution ordered herein and may order such payment in the future, but such future orders do not affect the
       defendant’s responsibility for the full amount of the restitution ordered.




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
